    Case 2:12-cv-03319-SDW-SCM Document 69 Filed 03/06/19 Page 1 of 1 PageID: 642
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                                                     March 4, 2019


      VIAECF
      Hon. Steven C. Mannion, U.S.M.J.
      Martin Luther King Building & U.S. Courthouse
      50 Walnut Street, Room 5060
      Newark, New Jersey 07101


             Re:     Armstrong v. Andover Subacute & Rehab Center Services One, Inc., et al.
                     Civil Action No. 2: 12-CV-33 19-SDW-SCM

      Dear Judge Mannion:

              This firm represents Defendant Sanjay K. lain, M.D. in the above referenced action. On
      february 25, 2019, Your Honor presided over a scheduling conference with regard to the above-
      reference matter and then issued an Order memorializing Your Honor’s decisions regarding
      discovery deadlines. Paragraph 4.a. currently has the affirmative expert reports to be served
      ahead of the responding expert reports. See Exhibit A, p.2. After conferring with all counsel, it
      is our collective belief that the deadlines set forth in Paragraphs 4.a. and 4.b. were inadvertenti’
      entered in error. We would respectfully request that the Order be corrected to provide for the
      service of all affirmative expert reports to be served by May 31, 2019, with the respondinëert
      iôrts to be served due on_or before July 1920T9.                  -




              Thank you for Your Honor’s anticipated courtesy and cooperation with regarding to this
      request. Should Your Honor have any questions, we will gladly set up another telephone
      conference to address this issue.


                                                          Respectfully Yours,

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                                                          BENJAMIN H. HAFTEL
      BHH: stc                                                                                          $0 ORDE2ED
      cc: All Counsel of Record (via ECF)
                                                                                                          s/Steven   c. M zion
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